      Case 22-19361-MBK             Doc 538-1 Filed 02/22/23 Entered 02/22/23 09:53:56                         Desc
                                    Notice of Transcript Filed Page 1 of 1
Form tsntc

                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                          Case No.: 22−19361−MBK
                                          Chapter: 11
                                          Judge: Michael B. Kaplan

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   BlockFi Inc.
   201 Montgomery Street
   Suite 263
   Jersey City, NJ 07302
Social Security No.:

Employer's Tax I.D. No.:
  82−2390015




                                      Notice That a Transcript Has Been Filed



        You are Noticed that a Transcript has been filed on 2/22/23. Pursuant to the Judicial Conference Policy on
Privacy, access to this transcript is restricted for a period of ninety days from the date of filing. The transcript may be
viewed at the Bankruptcy Court Clerk's Office. [For information about how to contact the transcriber, please call the
Clerk's Office] All parties have seven business days to file a Request for Redaction of any social security numbers,
financial account data, names of minor−age children, dates of birth, and home addresses. If redaction is requested,
the filing party has twenty−one calendar days from the date the transcript was filed to file a list of items to be
redacted indicating the location of the identifiers within the transcript with the court and to provide the list to the
transcriber. The transcriber has thirty−one days from the date the list of items to be redacted was filed to file the
redacted version of the transcript with the court . If no request is filed, the transcript will be made electronically
available to the general public after the ninety days.




Dated: February 22, 2023
JAN:

                                                                          Jeanne Naughton
                                                                          Clerk
